50 F.3d 9
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Anthony Vence WILLIAMS, Plaintiff--Appellant,v.R. L. CHUPIK, Detective, Robert D. Eisen;  Laurence D.Bragg;  William F. Rutherford, Honorable Judge,Defendants--Appellees.
    No. 94-7413.
    United States Court of Appeals, Fourth Circuit.
    Submitted Feb. 16, 1995.Decided March 21, 1995.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Alexandria.  Claude M. Hilton, District Judge.  (CA-93-1359-AM)
      Anthony Vence Williams, appellant pro se.
      Jacob Paul Stroman, IV, City of Norfolk Department of Law, Norfolk, VA, Lee Melchor, Office of the Attorney General of Virginia, Richmond, VA, for appellees.
      E.D.Va.
      AFFIRMED.
      Before HAMILTON and MOTZ, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Williams v. Chupik, No. CA-93-1359-AM (E.D. Va.  Oct. 21, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    